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 PRESTON BERMAN
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 Plaintiff, appearing Pro Se


                                  UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                           EUGENE DIVISION




PRESTON BERMAN,                                            Case No: 6:24-cv-01127-MK

           Plaintiff,                                      NOTICE OF ERRATA TO PLAINTIFF'S
                                                           OPPOSITION TO DEFENDANTS'
V.                                                         MOTION TO DISMISS

PSYCHIATRIC SECURITY.REVIEW BOARD;
and ALISON BORT in her official capacity as
Executive Director of the Oregon Psychiatric
Security Review Board,

           Defendants.




     Pro Se Plaintiff Preston Berman, hereby submits this Notice of Errata regarding Defendants'

 Motion to Dismiss.

        1. After submitting Plaintiffs Opposition to Defendants' Motion to Dismiss, I discovered a

           significant error in the Defendants' Motion that requires correction.

        2. In ECF No. 23, the Declaration ofJill Schneider in Support ofDefendants' Motion to

           Dismiss, it correctly states on page 5: "Preston Berman was found guilty except for insanity
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 MOTION TO DISMISS
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           of the crimes of Arson I, Burglary II, and Reckless Burning (18 counts)." This document

           accurately notes that there was only one count of Arson I.

        3. However, on page 7 of 11 in Defendants' Motion to Dismiss, it is incorrectly stated: "In

           2021, he 'escaped' from supervision, refused to stop smoking on an airplane (he was

           convicted in 2010 of two counts of arson)." This is incorrect, as Plaintiff was adjudicated of

           only one count of Arson I.

        4. Additionally, it is important to clarify that under Oregon law, a Guilty Except for Insanity

           (GEi) adjudication does not constitute a criminal conviction. According to ORS§ 161.325,

           a dispositional order following a GEi adjudication is not the same as a criminal judgment.

           Specifically, ORS § 161.325(1) provides the framework for the court's actions once a

           defendant is found GEi.

        5. This error is significant as it misrepresents my adjudication and could potentially mislead

           the court in its consideration of the Motion to Dismiss. I respectfully request that the court

           take note of this discrepancy and consider the accurate information as detailed above.




             DATED: August 22, 2024.                    Respectfully submitted,

                                                        s/ Preston Berman
                                                        PRESTON BERMAN
                                                        2600 Center St. NE
                                                        Salem, OR 97301-2669
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                                                        Plaintiff, appearing Pro Se




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      MOTION TO DISMISS
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                                    CERTIFICATE OF SERVICE


           I certify that on August 22, 2024, I served the foregoing NOTICE OF ERRATA TO

    PLAINTIFF'S OPPOSITION TO DEFENDANTS' MOTION TO DISMISS upon the parties

    hereto by the method indicated below, and addressed to the following:


     ELLEN F. ROSENBLUM                              _    HAND DELIVERY
     Attorney General                                _x_ MAIL DELIVERY
     TILL SCHNEIDER #001619                             OVERNIGHT MAIL
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     Attorneys for Defendants




            DATED: August 22, 2024.                   Respectfully submitted,

                                                      s/ Preston Berman
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                                                      Plaintiff, appearing Pro Se




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